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12
                                 UNITED STATES DISTRICT COURT
13                                    DISTRICT OF NEVADA

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15
     THESE PAWS WERE MADE FOR                        Case No. 2:24-cv-00164-GMN-NJK
16   WALKIN’ LLC, on behalf of itself and all
     others similarly situated,                      PLAINTIFFS’ CERTIFICATE OF
17                                                   INTERESTED PARTIES
                                        Plaintiff,
18
       v.
19
     PERMIAN RESOURCES CORP. f/k/a
20   CENTENNIAL RESOURCE
21   DEVELOPMENT, INC.; CHESAPEAKE
     ENERGY CORPORATION;
22   CONTINENTAL RESOURCES INC.;
     DIAMONDBACK ENERGY, INC.; EOG
23   RESOURCES, INC.; HESS
     CORPORATION; OCCIDENTAL
24   PETROLEUM CORPORATION; and
25   PIONEER NATURAL RESOURCES
     COMPANY,
26                            Defendants.

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      Case 2:24-cv-00164-GMN-NJK Document 7 Filed 01/30/24 Page 2 of 3




 1          PLEASE TAKE NOTICE that the undersigned counsel of record for Plaintiff and the
 2   Proposed Classes certifies that the following have an interest in the outcome of this case:
 3
            1.      Plaintiff These Paws Were Made For Walkin’ LLC;
 4
 5          2.      Putative Nationwide Injunctive Relief Class (Compl. ¶ 155);

 6          3.      Putative State Law Class (Compl. ¶ 156);

 7          4.      Defendant Permian Resources Corporation, known as Centennial Resource
 8                  Development, Inc. during the relevant period, a Delaware Corporation;
 9
            5.      Defendant Chesapeake Energy Corporation, an Oklahoma Corporation;
10
            6.      Defendant Continental Resources §Inc., an Oklahoma Corporation;
11
            7.      Defendant Diamondback Energy, Inc., a Delaware Corporation;
12
13          8.      Defendant EOG Resources, Inc., a Delaware Corporation;

14          9.      Defendant Hess Corporation, a Delaware Corporation;

15          10.     Defendant Occidental Petroleum Corporation, a Delaware Corporation; and
16
            11.     Defendant Pioneer Natural Resources Company, a Delaware Corporation.
17
18    DATED:         January 30, 2024                    By : /s/ Martin A. Muckleroy
                                                        Martin A. Muckleroy
19                                                      MUCKLEROY LUNT, LLC
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                                                        Proposed Counsel for Plaintiff and the
23                                                      Proposed Classes

24                                                      Brian D. Clark (pro hac vice forthcoming)
                                                        Rebecca A. Peterson (pro hac vice
25                                                      forthcoming)
                                                        Stephen J. Teti (pro hac vice forthcoming)
26                                                      Arielle S. Wagner (pro hac vice forthcoming)
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 4
                                          Proposed Interim Lead Counsel for Plaintiff
 5                                        and the Proposed Classes
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